Case 1:19-cv-01907-PEC Document9 Filed 01/24/20 Page 1of 4

LEGALLY INTERESTED PARTY(S):

M.D.N.M.- Human Rights Violations and Records/I.C.J.- U.N.
ICC- Resolution adopted by General Assembly 60/NAAIP

U.S. Deparment of Interior

Tchou Tchouma Tchoupitoulas Nation:

Hvishi Opa Luksi, Tribal Chief
c/o: 1527 Gause Blvd. #293
Slidell Louisiana U.S.A.

Real Land: Tchou Tchouma Tchoupitoulas National Territory

IN THE U.S. FEDERAL CLAIMS COURT
717 Madison PI NW, Washington, DC 20439

 

People of the River]

Claimant,

Vs.

UNITED STATES,
a Federal Government Body Corporate.
|

| Respondents

 

42 USC 1981, 18 USC 241, 242
)
)

)
Case No.: 1:19-cv-01907-PEC
\ Judge Patricia E. Campbell-Smith

\Fourteenth Amendments; U.S.C. Article VI

y Universal Declaration of Human Rights &

) Rights of Indigenous Peoples/ U.N.D.R.I.P./

\ A.D.R.LP., ILO 169 Indigenous and

Tribal Peoples

y Convention, 1989, Foreign Sovereignty

| Immunities Act 28 USC 1601, The International
Covenant of Civil &Political Rights

ae

 

 

FIDUCIARY ASSIGNMENT FOR PLENARY PROTECTION TO THE
N.A.A.LP. PER CONTRACTUAL AGREEMENT

Fiduciary Assignment By:

Tchou Tchouma Tchoupitoulas , by and through,
Hvishi Opa Luksi, Chief, Tribal Trustee

chieftesshvishi@gmail.com
504-405-1727

c/o: 1527 Gause Blvd. #293
Slidell Louisiana U.S.A.

 

Real Land: Turtle Island/Tchou Tchouma Tchoupitoulas National Territory
U.C.C. 1-103, 1-308, 9-311, 18 USC 1151(b)

Page 1 of 3

Tchou Tchouma Tchoupitoulas Nation [Choctaw) Indian Territory 18 U.S.C.1151, 8 USC 1401(b) |

 
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I, Hvishi Opa Luksi, Principal Chief of the TCHOU THOUMA TCHOUPITOULAS
NATION[Choctaw People Of The River], at 1527 GAUSE BLVD #293 Slidell Louisiana
Republic; hereby assign the N.A.A.I.P. with Plenary Power Of Attorney and appoint Shikoba
Hatukchaya Luksi, N.A.A.LP. Member No. 713510999, as Fiduciary and Attorney-In-Fact, to
present all pleadings and exhibits in this VERIFIED CLAIM Case No. 1:19-cv-01907-PEC

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18 USC 1151 [ZIP EXEMPT] 18 USC 1151 [ZIP EXEMPT]

Page 2 of 3

 
Case 1:19-cv-01907-PEC Document9 Filed 01/24/20 Page 3 of 4

 

 

 

JURAT
State of Louisiana )
)ss
County Of Of/e4ng )
Subscribed and sworn to before agent Lo Ks i je R oe a ,@ notary public in
and for the County of OplepAhys , State of Louisiana, on this
sf sday of JanyvAky Af) 20%by Shikoba Hatukchaya Luksi, who

proved to this agent on the basis of satisfactory evidence that Shikoba Hatukchaya Luksi
executes the within document, and swears, and declares that Shikoba Hatukchaya Luksi
autographs said within document in capacity of being the liv-ing principal, attorney in fact, and
authorized representative.

WITNESS my hand and official seal.

-GERDES, J)
W NO. 28800

  

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